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16   and OTTOMOTTO LLC

17                                UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                      SAN FRANCISCO DIVISION
20   WAYMO LLC,                                           Case No.     3:17-cv-00939-WHA
21                         Plaintiff,                     DECLARATION OF MICHELLE
                                                          YANG IN SUPPORT OF
22          v.                                            DEFENDANTS’ ADMINISTRATIVE
                                                          MOTION TO FILE UNDER SEAL
23   UBER TECHNOLOGIES, INC.,                             PORTIONS OF THEIR OPPOSITION
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                    TO PLAINTIFF WAYMO LLC’S
24                                                        MOTION FOR PRELIMINARY
                           Defendants.                    INJUNCTION, SUPPORTING
25                                                        DECLARATIONS, AND EXHIBITS
                                                          THERETO
26
                                                          Trial Date: October 2, 2017
27
28

     YANG DECLARATION ISO DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
     Case No. 3:17-cv-00939-WHA
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 1          I, Michelle Yang, declare as follows:

 2          1.      I am an attorney at the law firm of Morrison & Foerster LLP. I am a member in

 3   good standing of the Bar of the State of California. I make this declaration based upon matters

 4   within my own personal knowledge and if called as a witness, I could and would competently

 5   testify to the matters set forth herein. I make this declaration in support of Defendants’

 6   Administrative Motion to File Under Seal Portions of Their Opposition to Plaintiff Waymo

 7   LLC’s Motion For Preliminary Injunction, Supporting Declarations, and Exhibits Thereto.

 8          2.      Some of the highlighted portions of the Defendants’ Sur-Reply to Plaintiff’s

 9   Motion for Preliminary Injunction (“Sur-Reply”), the Supplemental Declarations of Michael

10   Lebby (“Lebby Declaration”), Scott Boehmke (“Boehmke Declaration”), and James Haslim

11   (“Haslim Declaration”) discuss Uber’s proprietary and highly confidential designs for Uber’s

12   custom LiDAR system. These portions are highlighted in blue. The design of Uber’s custom

13   LiDAR system is an Uber trade secret which, if made public, would cause Uber irreparable harm

14   in this very competitive space of autonomous driving.

15          3.      Some of the highlighted portions of Exhibit E to the Boehmke declaration, Exhibit

16   B to the Haslim Declaration, Exhibit 26 to the Lebby Declaration, and Exhibit 14 of the

17   Supplemental Declaration of Esther Chang (“Chang Declaration”) likewise discuss Uber’s

18   proprietary and highly confidential designs for Uber’s custom LiDAR system. These portions are

19   highlighted in blue. The design of Uber’s custom LiDAR system is an Uber trade secret which, if

20   made public, would cause Uber irreparable harm.

21          4.      The entireties of Exhibits A, B, C, and D to the Boehmke Declaration contain

22   defendants’ technical, proprietary trade secret information, which is highly confidential. Exhibits

23   A and B are emails discussing the development of a proprietary design, and Exhibits C and D are

24   detailed charts of design and performance specifications. If this information was made public, it

25   could irreparably harm Defendants.

26          5.      The entirety of Exhibit A to the Haslim Declaration likewise contains highly

27   confidential trade secret information. Exhibit A is an email that discusses the development of a

28   confidential design. If this information was made public, it could irreparably harm Defendants.

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 1          6.      The entireties of Exhibits 11 and 15 to the Chang Declaration likewise contain

 2   highly confidential trade secret information. Exhibit 11 is a presentation regarding Uber’s highly

 3   confidential detailed market strategy and Exhibit 15 is an expert witness deposition discussing

 4   proprietary trade secrets. If this information was made public, it could irreparably harm

 5   Defendants.

 6          7.      I understand that these trade secrets are maintained as confidential by Uber and are

 7   valuable as trade secrets to Uber’s business. The public disclosure of this information would give

 8   Uber’s competitors access to in-depth descriptions and analysis of Uber’s detailed market strategy

 9   information. If such information were made public, I understand Uber’s competitive standing

10   could be significantly harmed.

11          8.      Some of the highlighted portions of the Sur-Reply, the Lebby Declaration, the

12   Haslim Declaration, the Chang Declaration, Exhibit 26 to the Lebby Declaration, Exhibits 12 and

13   14 to the Chang Declaration, and the entirety of Exhibit 27 to the Lebby Declaration have been

14   designated by Waymo as either confidential or highly confidential. Waymo’s designations are

15   highlighted in green in the unredacted copies of the declarations and exhibits.

16          9.      The entirety of Exhibit 2 of the Lebby Declaration and Exhibit 15 to the Chang

17   Declaration contain highly confidential information. Exhibit 2 to the Lebby Declaration and

18   Exhibit 15 to Chang Declaration are excerpts the deposition transcript of Waymo’s expert witness

19   discussing both Uber confidential trade secret information and Waymo’s alleged trade secrets

20   regarding sensor design. The entirety of the expert witness’s deposition transcript has been

21   designated “Highly Confidential – Attorneys’ Eyes Only” until the parties can exchange

22   confidentiality designations.

23          10.     Uber’s request to seal is narrowly tailored to those portions of the Sur-Reply and

24   its supporting papers that merit sealing.

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 1          I declare under penalty of perjury under the laws of the United States that the foregoing is

 2   true and correct. Executed this 28th day of April, 2017, in Palo Alto, California.

 3
                                                                   /s/ Michelle Yang
 4                                                                     Michelle Yang
 5

 6                               ATTESTATION OF E-FILED SIGNATURE

 7          I, Arturo J. González, am the ECF User whose ID and password are being used to file this

 8   Declaration. In compliance with General Order 45, X.B., I hereby attest that Michelle Yang has

 9   concurred in this filing.

10   Dated: April 28, 2017                                     /s/ Arturo J. González
                                                                   Arturo J. González
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